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                              BEFORE THE UNITED STATES

                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: NELNET SERVICING, LLC,                          MDL DOCKET NO. 3053
CUSTOMER DATA SECURITY
BREACH LITIGATION



                             NOTICE OF RELATED ACTIONS

       Defendant Nelnet Servicing, LLC writes to notify the Panel of the two (2) additional

related actions listed on the attached Schedule of Actions. See, Anthony Quinn v. Nelnet

Servicing, LLC; (D. Northern Illinois-Eastern Division) Case No. 1:22-cv-05467 (Notice of

Removal Filed, October 5, 2022) and Max Eichenblatt v. Nelnet Servicing, LLC; (D. Middle

District of Florida-Orlando Division) Case No. 6:22-cv-01794-CEM-LHP (Notice of Removal

Filed October 3, 2022). The docket sheets and notices of removals are attached.


                                            Respectfully submitted,

Dated: October 6, 2022                      /s/ Claudia D. McCarron
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